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                                                                               2
                Case: 17-13915 Date Filed: 07/16/2018 Page:
                                                                                      Jul 16, 2018
                           UNITED STATES COURT OF APPEALS                                         MIAMI
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                    For rules and forms visit
  Clerk of Court                                                                    www.ca11.uscourts.gov


                                            July 16, 2018

  Steven M. Larimore
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 17-13915-HH
  Case Style: Sergio Maximiliano v. Portfolio Recovery Associates,
  District Court Docket No: 9:17-cv-80342-RLR

  The enclosed copy of the Clerk's Entry of Dismissal pursuant to appellant's motion to dismiss is
  issued as the mandate of this court. See 11th Cir. R. 42-1(a).

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Christopher Bergquist, HH/lt
  Phone #: 404-335-6169

  Enclosure(s)




                                                            DIS-3 Letter and Entry of Dismissal Vol
Case 9:17-cv-80342-RLR Document 33 Entered on FLSD Docket 07/16/2018 Page 2 of 2
                Case: 17-13915 Date Filed: 07/16/2018 Page: 2 of 2


                       IN THE UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT

                                        ______________

                                        No. 17-13915-HH
                                        ______________

  SERGIO MAXIMILIANO,

                                                  Plaintiff - Appellant,

  versus

  PORTFOLIO RECOVERY ASSOCIATES, LLC,

                                             Defendant - Appellee.
                       __________________________________________


                          Appeal from the United States District Court
                              for the Southern District of Florida
                       __________________________________________

  ENTRY OF DISMISSAL: Pursuant to Appellant Sergio Maximiliano's motion for voluntary
  dismissal, FRAP Rule 42 and 11th Cir. R. 42-1(a), the above referenced appeal was duly entered
  dismissed on this date, effective July 16, 2018.

                                        DAVID J. SMITH
                             Clerk of Court of the United States Court
                                of Appeals for the Eleventh Circuit

                          by: Christopher Bergquist, HH, Deputy Clerk

                                                           FOR THE COURT - BY DIRECTION
